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       Logistics Cartage, LLC and Defendants
  11   XPO Port Services Inc., XPO Logistics
  12   Port Services, LLC, and XPO Logistics,
       Inc.
  13
  14                      UNITED STATES DISTRICT COURT

  15                     CENTRAL DISTRICT OF CALIFORNIA

  16
       VICTOR CORTEZ ARRELLANO, AND               Case No. 2:18-cv-08220-RGK-E
  17   ON BEHALF OF ALL UNNAMED
  18   PLAINTIFFS SIMILARLY SITUATED,             JOINT STIPULATION
                                                  REGARDING CLASS ACTION
  19                     Plaintiffs,              SETTLEMENT
  20         v.                                   Dept:    850
  21                                              Judge:   Hon. R. Gary Klausner
       XPO PORT SERVICE INC.; and DOES
  22   1 through 50, inclusive,                   Related to Case No.:
  23                     Defendants.              2:18-cv-03736-RGK-E
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                                                             JOINT STIP. RE SETTLEMENT
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   1   Continued from first page
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   8   Attorneys for Plaintiffs Reynaldo Gomez
       Acosta, Servando Avila Luciano, and
   9   Felix Nunez Duarte
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   1          Counter-Claimant XPO Logistics Cartage, LLC and Defendants XPO Port
   2   Services Inc., XPO Logistics Port Services, LLC, XPO Logistics, Inc., and
   3   (collectively, “XPO”) and Plaintiffs Reynaldo Gomez Acosta, Servando Avila
   4   Luciano, and Felix Nunez Duarte (collectively, the “Arrellano Plaintiffs,” and
   5   together with XPO, the “Parties”) hereby stipulate:
   6          WHEREAS, the Arrellano Plaintiffs and XPO reached a tentative settlement
   7   of the above-captioned case on August 9, 2021, following an all-day mediation, and
   8   documented their tentative settlement in a Memorandum of Understanding the same
   9   day;
  10          WHEREAS, in the course of negotiating a full-length settlement agreement,
  11   the Parties agreed that, based on the initial class notice in this action, which already
  12   provided all Class Members the opportunity to request exclusion, and as a result of
  13   which six (6) drivers have chosen to opt out, the opt-out opportunity has been
  14   satisfied, and under Ninth Circuit caselaw, as set forth in Low v. Trump University,
  15   LLC, 881 F.3d 1111, 1121 (9th Cir. 2018), due process does not require that class
  16   members must be offered another opt-out opportunity post-settlement, particularly
  17   in light of the availability of a fairness hearing at which dissenters can object and
  18   the right to review on appeal;
  19          WHEREAS, the Notice of Settlement to the Class, which disclosed the terms
  20   of the settlement and which the Court approved, does not provide another opt-out
  21   opportunity;
  22          WHEREAS, to offer class members another opt-out opportunity post-
  23   settlement would, as the Ninth Circuit stated in Low, “impede the settlement
  24   process so favored in the law”;
  25          THEREFORE, the Parties agree that adding an opt-out opportunity post-
  26   settlement is unnecessary in the settlement, which was granted preliminary approval
  27   by this Court.
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                                                                     JOINT STIP. RE SETTLEMENT
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   1         Dated: October 12, 2021             O’MELVENY & MYERS LLP
   2                                             By: /s/ Scott Voelz
                                                        Scott Voelz
   3
                                                 Attorneys for Counterclaimant XPO
   4                                             Logistics Cartage, LLC and
                                                 Defendants XPO Port Services Inc.,
   5                                             XPO Logistics Port Services, LLC,
                                                 and XPO Logistics, Inc.
   6
   7         Dated: October 12, 2021             GOMEZ LAW GROUP
   8                                             By: /s/ Alvin M. Gomez
                                                         Alvin M. Gomez
   9
                                                 Attorneys for Plaintiffs Reynaldo
  10                                             Gomez Acosta, Servando Avila
                                                 Luciano, and Felix Nunez Duarte
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   1                           Local Rule 5-4.3.4(a)(2) Attestation
   2         I hereby attest that the other signatories listed, on whose behalf the filing is
   3   submitted, concur in the filing’s content and have authorized the filing.
   4
   5         Dated: October 12, 2021           O’MELVENY & MYERS LLP
   6
                                               By: /s/ Scott Voelz
   7
                                                       Scott Voelz
   8
                                               Attorneys for Counterclaimant XPO
   9                                           Logistics Cartage, LLC and Defendants XPO
                                               Port Services Inc., XPO Logistics Port
  10                                           Services, LLC, and XPO Logistics, Inc.
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